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                      EXECUTIVE OFFICE OF THE PRESIDENT
                          OFFICE OF MANAGEMENT AND BUDGET
                                   WASHINGTON, D.C. 20503


THE DIRECTOR




                                      January 29, 2025

 M-25-14

 MEMORANDUM FOR HEADS OF EXECUTIVE DEPARTMENTS AND AGENCIES

 FROM: Matthew J. Vaeth, Acting Director, Office of Management and Budget

 SUBJECT: Rescission of M-25-13


        OMB Memorandum M-25-13 is rescinded. If you have questions about implementing the
 President’s Executive Orders, please contact your agency General Counsel.
